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                             UN IT ED STATE S D ISTRIC T C O U RT
                             SOUTHERN DISTRICT OF FLORIDA
                                   CaseN o.1:17-cv-21728-JJO

                                        gconsentCase)
ALEX AN D ER N O LA SCO ,

      Plaintiff,



A K S CARTAGE CORP., a Florida for profit
com oration,D L ITRAN SPORT CORP.,a Florida
forprofitcorporation,ALEJAN D RO A RRIETA ,an
individual,and DELTA LINE INTERN ATION AL,
INC.,a Florida forprofitcorporation,and ANA M .
V EGA ,an individual,

      D efendants.
                                         /

                                       VERDICT FORM

      Do m u find from a preponderanceofthe evidence;

                                     O V ER TIM E W A G E S

       ThatPlaintiffAlexanderN olasco perform ed som emeaningfulwork form orethan an
       insubstantialamountoftim ewith theFord TransitConnectduring hisem ploym entwiththe
       Defendants?
               // x
       Y es            o

              (Note:lfyouranswerisStYes''you needtoanswerquestion 2below.Ifyou
              answered (tNo'' yourverdictis for the Defendantsand you do notneed to
              answer any otherquestion.

       ThatPlaintiffAlexanderN olasco worked overtim ehoursforwhich hewasnotproperly
       compensated?
              v/     x
       Y es              o

              g'
               Note: IfyouransweristiYes''>youneedto answerquestions3-5below.If
              you answered t#No'' yourverdictisforthe Defendantsand you do notneed
              to answ erany Otherquestion.

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3.      ThatPlaintiffAlexanderNolasco should be awarded $ J t j 3 $ O e,eastheovertimewages.
                                                             .




                              IN D IVID UA L EM PL O Y ER STA TU S

        ThatDefendantAnaM .VegawasPlaintiffsemployerasdefinedinthejuryinstructionsduring
        the employmentperiod relevantto thislawsuit?

        ws Z         No
                                         GOO D FAITH
        lfyou answeredYestoNum ber2 above,wasDefendants'failureto payovertime,in good faith,
        basedonasubjectiveandobjectivestandard,asdefnedintheJurylnstructions?
        Yes          No Z

        SO SAY W E A LL .



                                          JUR Y FOREPER SO N

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                                          DATE




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